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FILED
IN OPEN COURT

IN THE UNITED STATES DISTRICT COURT FoR THE
EASTERN DISTRICT OF VIRGINIA

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j JUL 2023
Norfolk Division |
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: CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA NORFOLK, VA
v. No. 2:23-cr-84
CLESHAUN A. COX,
Defendant.
PLEA AGREEMENT

Jessica D, Aber, United States Attorney for the Eastern Blatt of Virginia; Kristen
Clarke, Assistant Attorney General for the Civil Rights Division of the United States Department
of Justice; undersigned counsel for the United States; the defendant, Cleshaun A. Cox; and the
defendant’s counsel have entered into an agreement pursuant to Rule 11(c)(1)(C) of the Federal
Rules of Criminal Procedure. The terms of this Plea Agreement are as follows:

1. Offense and Maximum Penalties

The defendant agrees to waive indictment and plead guilty to a single-count Criminal
Information, charging the defendant with deprivation of rights under color of law, in violation of
18 U.S.C. § 242. The maximum statutory penalties for this offense are: a maximum term of life
in prison, a fine of $250,000, full restitution as outlined below, a special assessment pursuant to
18 U.S.C § 3013, and a maximum supervised release term of 5 years. The defendant understands
that any supervised release term is in addition to any prison term the defendant may receive, and

that a violation of a term of supervised release could result in the defendant being returned to

prison for the full term of supervised release.

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2s Detention Pending Sentencing
The defendant understands that this case is governed by 18 U.S.C. §§ 3143(a)(2) and
3145(c). These provisions provide that a judicial officer shall order that a person who has been
found guilty of an offense of this kind be detained unless there are statutory justifications why
such person’s detention would not be appropriate.
3. Factual Basis for the Plea
The defendant will plead guilty because the defendant is in fact guilty of the charged
offense. The defendant admits the facts set forth in the Statement of Facts filed with this Plea
Agreement and agrees that those facts establish guilt of the offense charged beyond a reasonable
doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,
constitutes a stipulation of facts for purposes of Section 1B1.2(c) of the Sentencing Guidelines.
4, Assistance and Advice of Counsel
The defendant is satisfied that the defendant’s attorney has rendered effective assistance.
The defendant understands that by entering into this Plea Agreement, defendant surrenders
certain rights as provided in this agreement. The defendant understands that the rights of
criminal defendants include the following:
a. the right to plead not guilty and to persist in that plea;
b. the right to a jury trial;

, the right to be represented by counsel—and, if necessary, have the court
appoint counsel—at trial and at every other stage of the proceedings; and

d. the right at trial to confront and cross-examine adverse witnesses, to be
protected from compelled self-incrimination, to testify and present
evidence, and to compel the attendance of witnesses.

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5. Sentencing Guidelines, Recommendations, and Roles

Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the United
States and the defendant agree that a sentence of imprisonment within a particular range of
months, namely one that is at least 180 months and not higher than 240 months, is the
appropriate disposition of this case.

As a condition of this plea agreement, the defendant agrees that a sentence within the
agreed-upon range of 180 to 240 months is appropriate and ‘accords with the factors set forth in
18 U.S.C. § 3553(a), and further agrees not to move for a downward variance or departure below
a term of imprisonment of 180 months at sentencing. The above agreed-to sentencing
recommendation in no way restricts the Court’s ability to impose a period of supervised release,
a monetary fine, and a special assessment.

The defendant understands that the sentencing recommendation pursuant to Rule
11(c)(1)(C) as described above is binding if the Court accepts the plea agreement. The defendant
further acknowledges, however, that the Court may defer the final acceptance of the defendant’s
guilty plea pending the review of the Presentence Report to be prepared by the U.S. Probation
Office, Pursuant to Rule 11(c)(5), if the Court rejects this plea agreement, the Court must do the
following on the record and in open court (or, for good cause, in camera):

(A) inform the parties that the Court rejects the plea agreement;

(B) advise the defendant personally that the Court is not required to follow the plea
agreement and give the defendant an opportunity to withdraw the plea; and

(C) advise the defendant personally that if the plea is not withdrawn, the court may

dispose of the case less favorably toward the defendant than the plea agreement contemplated.

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The defendant understands that the Court has jurisdiction and authority to impose any
sentence within the statutory maximum described above, and, if the Court accepts the plea
agreement, within the range agreed to by the parties, but that the Court will determine the
defendant’s actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands
that the Court has not yet determined a sentence and that any estimate of the advisory sentencing
range under the U.S. Sentencing Commission’s Sentencing Guidelines Manual the defendant
may have received from the defendant’s counsel, the United States, or the Probation Office, is a
prediction, not a promise, and is not binding on the United States, the Probation Office, or the
Court. Additionally, pursuant to the Supreme Court’s decision in United States v. Booker, 543
U.S. 220 (2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may
impose a sentence above or below the advisory sentencing range, subject only to review by
higher courts for reasonableness. The United States makes no promise or representation
concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty
plea based upon the actual sentence within the above-discussed range.

'. The United States and defendant have not agreed on any further sentencing issues,
whether related to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a), other
than those set forth above or elsewhere in this Plea Agreement. Accordingly, any such
determinations will be made by the Court at sentencing.

6. Waiver of Appeal, FOIA, and Privacy Act Rights

The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal
the conviction and any sentence within the statutory maximum described above (or the manner in

which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

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ground whatsoever other than an ineffective assistance of counsel claim that is co gnizable on
direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.
The defendant’s knowing and voluntary waiver of the right to appeal the conviction and sentence
includes waiving the right to raise on appeal any argument that (1) the statute to which the |
defendant is pleading guilty is unconstitutional and (2) the admitted conduct does not fall within
the scope of the statute. This agreement does not affect the rights or obligations of the United
States as set forth in 18 U.S.C. § 3742(b). The defendant also ‘hereby waives all rights, whether
asserted directly or by a representative, to request or receive ftom any department or agency of
the United States any records pertaining to the investigation or paceman of this case, including
without limitation any records that may be sought under the Freedom of Information Act, 5
U.S.C. § 552, or the Privacy Act, 5 U.S.C. § 552a.

7. Immunity from Further Prosecution in This District

The United States will not further criminally prosecute the defendant in the Eastern
District of Virginia for the specific conduct described in the Information or Statement of Facts.
This Plea Agreement and Statement of Facts does not confer on the defendant any immunity
from prosecution by any state government in the United States,

8. Payment of Monetary Penalties

The defendant understands and agrees that, pursuant to 18 U.S.C. § 36 13 and 18 U.S.C.
§ 3572, all monetary penalties imposed by the Court, including restitution, will be due
immediately and subject to immediate enforcement by the United States as provided for in
Section 3613. Ifthe Court imposes a schedule of payments, the defendant understands that the
schedule of payments is merely a minimum schedule of payments and not the only method, nor a

limitation on the methods, available to the United States to enforce the judgment. Until all

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monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program
so that any federal payment or transfer of returned property to the defendant will be offset and
applied to pay the defendant’s unpaid monetary penalties. If the defendant is incarcerated, the
defendant agrees to participate voluntarily in the Bureau of Prisons’ Inmate Financial
Responsibility Program, regardless of whether the Court specifically directs participation or
imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment
of all monetary penalties imposed by the Court.

9, Special Assessment

Before sentencing in this case, the defendant agrees to pay a mandatory special
assessment of $100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

10. Restitution

The defendant agrees that restitution is mandatory pursuant to 18 U.S.C. § 3663A(c)(1),
and the defendant agrees to the entry of a Restitution Order for the full amount of the victim’s
losses as determined by the Court. Pursuant to 18 U.S.C. § 3663A(c)(2), the defendant further
agrees that an offense listed in Section 3663A(c)(1) gave rise to this Plea Agreement and, as
such, victims of the conduct described in the charging instrument, Statement of Facts, or any
related or similar conduct shall be entitled to restitution.

Without limiting the amount of restitution that the Court must impose pursuant to statute
and this Plea Agreement, the parties agree that, at a minimum, the following victim is entitled to
restitution pursuant to 18 U.S.C. § 3663A(b)(2) and (b)(4), in an amount to be determined by the
Court at sentencing: Victim 1 [See redacted Attachment A to Restitution Order].

The defendant understands that restitution will be enforced pursuant to 18 U.S.C. § 3572,

18 U.S.C. § 3613, and 18 U.S.C. § 3664(m).

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The parties acknowledge that determination of the identities, addresses, and loss amounts '
for the victim in this matter is a complicated and time-consuming process. To that end, defendant
agrees that, pursuant to 18 U.S.C. § 3664(d)(5), the Court may defer the imposition of restitution
until after the sentencing; however, defendant specifically waives the 90-day provision found at
Section 3664(d)(5) and consents to the entry of any orders pertaining to restitution after
sentencing without limitation

The defendant understands that forfeiture and restitution are separate and distinct
financial obligations that must be imposed upon a criminal defendant. The defendant further
understands that restitution will be enforced pursuant to 18 U.S.C. § 3572, 18 U.S.C. § 3613, and
18 U.S.C. § 3664(m).

11. Sex Offender Registration and Notification Act

The defendant has been advised, and understands, that under the Sex Offender
Registration and Notification Act, a federal law, the defendant must register and keep the
registration current in each of the following jurisdictions: where the defendant resides; is an
employee; or is a student. The defendant understands that the requirements for registration
include providing true name, residence address, and names and addresses of any places where
the defendant is or will be an employee or a student, among other information. The defendant
further understands that the requirement to keep the registration current includes informing at
least one jurisdiction in which the defendant resides, is an employee, or is a student not later than
three business days after any change of the defendant’s name, residence, employment, or student
status. The defendant has been advised, and understands, that failure to comply with these
obligations subjects the defendant to prosecution for failure to register under federal law, 18

U.S.C. § 2250, which is punishable by a fine or imprisonment, or both.

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12. _ Breach of the Plea Agreement and Remedies

This Plea Agreement is effective when signed by the defendant, the defendant’s attorney,
and an attorney for the United States. The defendant agrees to entry of this Plea Agreement at
the date and time scheduled with the Court by the United States (in consultation with the
defendant’s attorney). Ifthe defendant withdraws from this agreement, or commits or attempts
to commit any additional federal, state, or local crimes, or intentionally gives materially false,
incomplete, or misleading testimony or information, or otherwise violates any provision of this
agreement, then:

a. The United States will be released from its obligations under this
agreement. The defendant, however, may not withdraw the guilty plea
entered pursuant to this agreement.

b. The defendant will be subject to prosecution for any federal criminal
violation, including, but not limited to, perjury and obstruction of justice,
that is not time-barred by the applicable statute of limitations on the date |
this agreement is signed. Notwithstanding the subsequent expiration of
the statute of limitations, in any such prosecution, the defendant agrees to
waive any statute-of-limitations defense.

c. Any prosecution, including the prosecution that is the subject of this
agreement, may be premised upon any information provided, or
statements made, by the defendant, and all such information, statements,
and leads derived therefrom may be used against the defendant. The
defendant waives any right to claim that statements made before or after
the date of this agreement, including the Statement of Facts accompanying
this agreement or adopted by the defendant and any other statements made
pursuant to this or any other agreement with the United States, should be
excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11,
the Sentencing Guidelines, or any other provision of the Constitution or
federal law.

Any alleged breach of this agreement by either party shall be determined by the Court in
an appropriate proceeding at which the defendant’s disclosures and documentary evidence shall
be admissible and at which the moving party shall be required to establish a breach of this Plea

Agreement by a preponderance of the evidence.

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13. Nature of the Agreement and Modifications
This written agreement constitutes the complete plea agreement between the United
States, the defendant, and the defendant’s counsel. The defendant and the defendant’s attorney
acknowledge that no threats, promises, or representations have been made, nor agreements
reached, other than those set forth in writing in this Plea Agreement or any associated documents
filed with the Court, to cause the defendant to plead guilty. Any modification of this Plea
Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement
signed by all parties.

Jessica D. Aber
United States Attorney

By: Lice hs

E. Rebecca Gantt
Assistant United States Attorney

Kristen Clarke
Assistant Attorney General
Civil Rights Division

By: tz

Kathryn Gilbert
Special Litigation Counsel

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Defendant’s Signature: I hereby agree that I have consulted with my attorney and fully
understand all rights with respect to the pending criminal Information. F urther, I fully
understand all rights with respect to 18 U.S.C. § 3553 and the provisions of the Sentencing
Guidelines Manual that may apply in my case. I have read this Plea Agreement and carefully
reviewed every part of it with my attorney. I understand this agreement and voluntarily agree to
it.

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July 4.2023 ——~
Date: Oty § yo ae

Cleshaun A. Cox

Defense Counsel’s Signature: I am counsel for the defendant in this case. I have fully
explained to the defendant the defendant’s rights with respect to the pending Information.
Further, I have reviewed 18 U.S.C. § 3553 and the Sentencing Guidelines Manual, and I have
fully explained to the defendant the provisions that may apply in this case. I have carefully
reviewed every part of this Plea Agreement with the defendant. To my knowledge, the
defendant’s decision to enter into this agreement is an informed and voluntary one.

Date: 7-/#-2023 AW

Spang V. Katchmar
ounsel for the Defendant

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U. S. DEPARTMENT OF JUSTICE
Statement of Special Assessment Account

This statement reflects your Special Assessment only. There may be other penalties imposed at

sentencing.
ACCOUNT INFORMATION
CRIM. ACTION NO.: 2:23-cr-84
DEFENDANT’S NAME: Cleshaun A. Cox
PAY THIS AMOUNT: $100.00
INSTRUCTIONS:

1. MAKE CHECK OR MONEY ORDER PAYABLE TO:

CLERK, U.S. DISTRICT COURT

2. PAYMENT MUST REACH THE CLERK’S OFFICE BEFORE YOUR SENTENCING DATE.

3. PAYMENT SHOULD BE SENT TO:

In-Person (9 AM to 4 PM) By Mail:

Clerk, U.S. District Court
Alexandria Cases: 401 Courthouse Square
Alexandria, VA 22314

Clerk, U.S. District Court
Richmond Cases: 701 East Broad Street, Suite 3000
Richmond, VA 23219

Clerk, U.S. District Court
Newport News Cases: 2400 West Ave., Suite 100
Newport News, VA 23607

Clerk, U.S. District Court
Norfolk Cases: 600 Granby Street
Norfolk, VA 23510

4, INCLUDE DEFENDANT’S NAME ON CHECK OR MONEY ORDER.

5. ENCLOSE THIS COUPON TO ENSURE PROPER AND PROMPT APPLICATION OF
PAYMENT.

